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     Attorneys for Defendant
12   LAWRENCE LELAND “LEE” LOOMIS
13
14
15              IN THE UNITED STATES OF DISTRICT COURT FOR THE

16                         EASTERN DISTRICT OF CALIFORNIA
17
18   UNITED STATES OF AMERICA,
                                                   Case No.: 2:12-CR-00315 JAM
19                             Plaintiff,
20                                                 WAIVER OF APPEARANCE
                   v.
21
22   LAWRENCE LELAND “LEE” LOOMIS

23                Defendant.
24
25         Pursuant to Rule 43, Defendant hereby waives the right to be present in person in
26   open court upon the hearing of any motion or other proceeding in this case, including
27   when the case is set for trial, when a continuance is ordered, when time is excluded under
28   the Speedy Trial Act, when a detention hearing is held, and when any other action is
     taken by the Court before or after trial, except upon arraignment, plea, impanelment of


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 1   jury and imposition of sentence. Defendant hereby requests the Court to proceed during
 2   every absence of his which the Court may permit pursuant to this waiver; agrees that his
 3   interests will be deemed represented at all time by the presence of his attorney, the same
 4   as if defendant were personally present; and further agrees to be present in person in
 5   court ready for trial on any day which the Court may fix in his absence.
 6
           Defendant further acknowledges that he has been informed of his rights under
 7
     Title 18 U.S.C. §§3161-3174 (Speedy Trial Act), and authorizes his attorney to set times
 8
     and delays under that Act without defendant being present.
 9
10
11
12   DATED: July 10, 2015
                                                     /s/ Lawrence L. Loomis
13
                                                     LAWRENCE LELAND “LEE” LOOMIS
14                                                   Defendant
15
16   DATED: July 10, 2015                            /S/ David D. Fischer
17                                                   DAVID D. FISCHER
                                                     Attorney for Defendant
18                                                   LAWRENCE LELAND “LEE” LOOMIS
19
20   DATED: July 10, 2015                            /s/ Kresta N. Daly
                                                     KRESTA N. DALY
21                                                   Attorney for Defendant
                                                     LAWRENCE LELAND “LEE” LOOMIS
22
23   IT IS SO ORDERED
24
25   Dated: 7/10/2015                         /s/ John A. Mendez____________
26                                            HON. JOHN A. MENDEZ
                                              United States District Court Judge
27
28



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